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                      UNITED STATES DISTRICT COURT
                      EASTERN DISTRICT OF MICHIGAN

   DAVONTAE SANFORD,

                  Plaintiff,

   v.                                            CIVIL ACTION NO.

   CITY OF DETROIT, a Municipal
   Corporation, MICHAEL RUSSELL                   COMPLAINT AND JURY
   and JAMES TOLBERT in their                          DEMAND
   official and/or individual capacities,
   jointly and severally,

                  Defendants.

   _____________________________________________________________/
   Barry C. Scheck                     William H. Goodman (P14173)
   Nick Brustin                        Julie H. Hurwitz (P34720)
   Emma Freudenberger                  Kathryn Bruner James (P71374)
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__________________________________________________________________/

                        COMPLAINT AND JURY DEMAND

        NOW COMES Plaintiff DAVONTAE SANFORD, by and through his

attorneys, the law firms of Neufeld Scheck & Brustin, LLP, and Goodman

Hurwitz & James, P.C., and for his Complaint in this matter, states as follows:
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                                   INTRODUCTION

       1.     At just fourteen years old, Plaintiff Davontae Sanford was wrongfully

prosecuted for a quadruple homicide of which he was completely innocent.

Davontae was convicted and spent nearly nine (9) years—from the ages of 14 to

23—wrongly imprisoned for these crimes.

       2.     Davontae’s nightmare was no accident; rather it was the direct result

of serious misconduct by Defendant Detroit Police Department (DPD) detectives,

who railroaded an easy and vulnerable target rather than do the hard work

necessary to identify the true killer.

       3.     Worse, once the true murderer came forward independently to confess

and proclaim Davontae’s innocence, Defendants affirmatively covered this up in

order to preserve Davontae’s wrongful conviction and to cover up their own

misconduct.

       4.     Late on the night of September 17, 2007, two professional hit men in

their mid-to-late 20s—Vincent Smothers and Ernest Davis—murdered four people

in a house on Runyon Street, on the East Side of Detroit, as part of a drug gang

war.

       5.     In the early morning hours of September 18, 2007—within the hours

after the killings—investigating DPD officers, Defendant Sgt. Michael Russell and




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Investigator Dale Collins, encountered 14-year-old Davontae Sanford, who lived

nearby and had wandered out in his pajamas to ask the police what was going on.

      6.     Defendant Russell and DPD Officer Collins took young Davontae,

who was learning disabled—functionally illiterate and blind in one eye—to the

police station where Russell and Homicide Commander, Defendant James Tolbert

(Tolbert and Russell hereinafter, collectively “Defendant Officers”) repeatedly and

relentlessly interrogated the 14-year-old over the next two days, without an

attorney or guardian present.

      7.     Defendant Officers threatened Davontae and made false promises to

try to induce him to confess.

      8.     After hours of interrogation, Defendant Officers presented Davontae

with a false typewritten confession, typed and authored by Defendant Russell,

which mirrored the detectives’ fabricated theory of the case.

      9.     To make this false confession appear reliable, Defendant Officers

inserted non-public details about the crimes that only the true perpetrator or police

would know.

      10.    Worn down by Defendant Officers’ coercive interrogation, the young,

disabled teen finally acquiesced and signed the purported “confession”.




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      11.       Defendant Officers then misrepresented to prosecutors that the

confession was obtained through a lawful, professional and reliable interrogation

and that the non-public details about the crimes had originated with Davontae.

      12.       Defendant Officers also falsely and deliberately asserted that

Davontae had prepared and drawn a diagram of the murder scene, when in fact it

had been prepared by Defendant Tolbert, who then gave it to Davontae to fill in the

location of the victims to match the photographs he had been shown earlier, and

then to sign.

      13.       At no time did any reliable evidence, untainted by Defendant

Officers’ misconduct, ever originate with or connect Davontae to the Runyon

Street murders. But, because of Defendant Officers’ egregious unconstitutional

misconduct, Davontae was convicted of four homicides and sentenced to 37–90

years in adult prison for these brutal crimes that he did not commit.

      14.       Less than one month after Davontae’s conviction and sentencing,

professional hit man, Vincent Smothers, was arrested as the prime suspect in

another murder, and volunteered to DPD officers, including DPD Officer Gerald

Williams and Defendant Russell, that he had committed the Runyon Street

murders.

      15.       Smothers provided numerous non-public facts about the crime that

only the true perpetrator would know, including details that were previously



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unknown to the police and later independently verified. Smothers also told

Defendant Officers that he had only one accomplice for these murders—his

longtime friend and colleague, Ernest Davis—with whom he had partnered to

commit other contract killings.

      16.    Smothers’ unequivocal confession was corroborated by multiple

witnesses who described seeing only two gunmen fleeing the scene. Smothers and

Davis fit the physical descriptions given by those witnesses; Davontae did not fit

the witnesses’ description of either of the two gunmen.

      17.    Smothers has repeatedly asserted that he did not use, and never would

have used, an adolescent as an accomplice to a contract killing—especially one,

like Davontae, who is blind in one eye—because it would have jeopardized

Smothers’ own safety.

      18.    Defendant officers never informed Davontae or his counsel about

Smothers’ confession; rather, they allowed Davontae—an innocent, disabled,

teenaged boy—to remain locked up in an adult prison.

      19.    Indeed, Defendant Russell instructed Smothers to conceal his

involvement in the Runyon Street murders. This attempted concealment was a part

of Defendants’ effort to hide their misconduct in the investigation, wrongful arrest,

and wrongful conviction of Davontae Sanford.




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      20.    Even after Smothers’ confession finally became known to Davontae

and his counsel, Defendant Officers continued to lie about the circumstances of

Davontae’s interrogation, which prolonged Davontae’s wrongful incarceration for

nearly eight additional years.

      21.    On June 8, 2016, after nine years of torturous wrongful imprisonment

and after the truth of Defendants’ misconduct was more fully exposed, the Wayne

County Circuit Court finally released 23-year old Davontae Sanford from prison,

and on July 19, 2016, all charges were dismissed against him.

      22.    Beyond compensating Davontae for the over nine years that he

needlessly spent as a prisoner, the loss of his entire adolescence, and his continuing

suffering, this action seeks to remedy Defendant City of Detroit’s unlawful

policies, practices, and/or customs of routinely conducting unlawful interrogations,

and of failing to adequately train, supervise, and/or discipline its officers that led

Defendant Officers to violate Davontae Sanford’s constitutional rights as secured

by the Fourth, Fifth, and Fourteenth Amendments of the United States

Constitution, and the laws of the State of Michigan.

                                  THE PARTIES

      23.    Plaintiff Davontae Sanford, at all times material to this complaint, was

a resident of the State of Michigan.




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      24.   Defendant City of Detroit is, and at all times relevant herein was, a

municipal corporation, authorized under and created by the laws of the State of

Michigan. It is, and has been at all times relevant hereto, authorized by law to

maintain and operate a Police Department. By and through its agents, including but

not limited to the Chief of Police, its supervisors, operating officers, Boards,

Commissions, and Committees and its final policymakers, Defendant City of

Detroit, at all times relevant hereto, established, promulgated and implemented the

policies, written and unwritten, of the DPD, with regard to hiring, training,

supervision, and discipline of the employees of said department, as well as the

investigative practices and procedures of its Major Crimes Unit and the officers

who worked within that Unit.

      25.   At all times relevant to this action, DPD is and was an official

department of Defendant City of Detroit.

      26.   Further, at all times herein, both Defendant City of Detroit and its

Police Department failed to accommodate the obvious learning disability from

which Davontae Sanford was afflicted, and instead exploited and intentionally

discriminated against Davontae on the basis of that disability. They did so in their

detention, interrogation, and suggestion to Davontae as to what he was required

and expected to say, and in their manipulation of Davontae to get him to “sign”

confessions and incriminating evidence.



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      27.    Upon information and belief, Defendant Michael Russell is a resident

of the State of Michigan.

      28.    At all times relevant to this complaint, Defendant Russell was a

Sergeant in the Major Crimes Unit at the DPD acting under color of law, pursuant

to the statutes, ordinances, regulations, policies, customs and usage of Defendant

City of Detroit.

      29.    Upon information and belief, Defendant James Tolbert is a resident of

the State of Michigan.

      30.     At all times relevant to this complaint, Defendant Tolbert was the

Commander of the Major Crimes Unit, which included the Homicide Unit, at the

DPD during the investigation of the Runyon Street homicides and was

subsequently promoted to Deputy Chief of Police.

      31.    At all times relevant to this complaint, Defendant Tolbert was acting

under color of law pursuant to the statutes, ordinances, regulations, policies,

customs and/or practices of Defendant City of Detroit.

                                JURISDICTION

      32.    This action is brought pursuant to 42 U.S.C. §§ 1983 and 1988, the

Fourth, Fifth and Fourteenth Amendments to the United States Constitution, and

the laws and Constitution of the State of Michigan.




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      33.    Jurisdiction is founded upon 28 U.S.C. §§ 1331, 1343, and 2202.

Plaintiff further invokes the supplemental jurisdiction of this Court to adjudicate

state law claims pursuant to 28 U.S.C. § 1367.

      34.   Venue is proper under 28 U.S.C. § 1391(b), as the claims arose in

Wayne County.

                          FACTUAL BACKGROUND

                            Runyon Street Homicides

      35.   At approximately 11:25 p.m. on September 17, 2007, Vincent

Smothers and Ernest Davis approached the Runyon Street home of low-level drug

dealer Michael Robinson, whom they had been hired to kill. The two hit men were

in the mid-to-late 20s and wearing dark clothes. Smothers carried an AK-47 rifle,

and Davis carried a .45 caliber semi-automatic pistol.

      36.    While the pair were surveying the house, a man inside unexpectedly

opened the door and saw Smothers with his gun. Smothers and Davis began

shooting at the individual from outside the house and then came in and continued

to shoot inside to the living room. Smothers and Davis shot and killed Robinson,

two other men, and one woman who were present in the living room.

      37.   At some point Smothers entered the back bedroom and found Mr.

Robinson’s 7-year old son and a 30-year old woman named Valerie Glover, who

had been shot but had managed to flee and hide under the bed. Smothers told Ms.



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Glover and the child to be quiet and pretend to be dead. He then exited the room.

When Smothers left the home he took with him a .40 caliber gun that he had found

there.

         38.   Out in the street, Smothers exchanged gunfire with Jessie King, a

Detroit police chaplain who had heard and seen the shooting from his home across

the street.

         39.   Smothers and Davis then ran down Runyon Street and across a vacant

field to their getaway vehicle.

      City of Detroit Police Officers Respond to Runyon Street Homicides

         40.   DPD officers established a crime scene at 19741 Runyon Street and

canvassed the area for evidence and witnesses. Defendant Officers—Russell and

Tolbert—along with Investigator Dale Collins, were among those who responded

to the Runyon Street crime scene and assisted in the homicide investigation.

         41.   DPD officers learned, from two eyewitnesses, that the shooting had

been committed by two black men—about 30 or 35 years old, with brown skin and

slim-to-medium builds, one of whom was approximately six feet tall, and the other

slightly shorter.

         42.   Both of the perpetrators were reportedly wearing dark clothes and

masks, and the taller of the gunmen (Smothers) was reportedly also wearing a coat

and carrying a long rifle.



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      43.   As part of their initial investigation, Defendant Officers with

Investigator Collins, learned a number of details relating to the crime from

surveying the crime scene and speaking to witnesses, including:

            a)     That the two perpetrators first fired rounds through the
                   front door and window from outside the house;

            b)    That additional shots were fired in the living room after
                  the assailants entered the house;

            c)    That three men and one woman were killed in the living
                  room;

            d)    The positions of the crime victims’ bodies;

            e)    That the two perpetrators used an assault rifle and a
                  handgun to commit the murders;

            f)    That one of the assailants encountered Valerie Glover in
                  the bedroom under a bed, and briefly spoke to her;

            g)    That a seven-year-old boy was also in the room, on the
                  bed under the covers;

            h)    That several marijuana plants were growing in the
                  basement of the house, and neighbors were suspicious
                  that Robinson had been selling drugs from the house;

            i)    The escape route of the perpetrators: north on Runyon
                  Street then across a vacant field to the west, toward
                  Teppert and Beland Streets; and

            j)    That while fleeing, the assailant with the assault weapon
                  fired two rounds at a witness across the street, and that
                  the witness had fired back.




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                Davontae’s First Encounter with DPD Officers

      44.   At the time Smothers and Davis committed the Runyon Street

homicides, Davontae Sanford was fourteen years old and was blind in one eye.

Davontae had never met Smothers or Davis and did not participate in the crime in

any way. He had no knowledge as to why or how it was committed.

      45.   After the murders, which occurred past midnight on September 18,

2007, there was substantial noise and heavy police activity in the neighborhood. As

a result, several residents came outside to look around, including Davontae, who

lived on Beland Street near the area where Defendant Russell was canvassing.

      46.   Upon leaving his house in his pajamas, Davontae walked towards the

police to inquire about the commotion.

      47.   Defendant Russell approached Davontae and spoke with him in an

accusatory manner, eventually asking him several questions about the crimes.

      48.   Davontae, who had no knowledge about the crimes, could not answer

Russell’s questions.

      49.   DPD K-9 Detective Chris Salisbury and his police dog were near

Defendant Russell while Russell spoke with Davontae on the street.

      50.   Detective Salisbury’s dog had just been tracking the scent of the

perpetrators and did not react to Davontae’s presence or otherwise show any

indication that Davontae was connected to the Runyon Street crime.



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      51.     Given that four people had been shot repeatedly with assault weapons,

the crime scene was extremely bloody; yet Davontae had no blood on him

whatsoever.

      52.     Nonetheless, Russell treated Davontae as a suspect. Because Davontae

was only fourteen years of age, Russell instructed Investigator Collins to bring

Davontae home and obtain parental consent to have him taken to police

headquarters.

      53.     Defendant Officers somehow obtained a signed consent from

Davontae’s grandmother for the officers to transport Davontae to the police station.

      54.     After transporting Davontae to the precinct, Defendant Officers

administered a gunshot residue test on his face and hands, which proved negative,

and then interrogated him for several hours.

      55.     The gunshot residue test came back negative two days later.

              The 1st Statement DPD Officers Attributed to Davontae

      56.     While in custody, Davontae disclosed that he had smoked marijuana

and was under its influence during the interrogation; Davontae’s learning

disabilities were also known to Russell and the other officers.

      57.     Despite their knowledge of Davontae’s youth, disability, and

intoxication—and indeed because of that knowledge—Russell and other officers

interrogated Davontae without a parent, attorney or guardian present, in violation



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of DPD written protocol. The officers continued the interrogation for several hours,

well into the early morning hours of September 18, 2007, until they finally

succeeded in coercing Davontae to make a statement about the crime.

      58.    That statement—composed and typewritten by Detective Russell, only

later signed by Davontae, and never recorded—purports to state that Davontae was

present for the planning, but not the commission, of the murder. The statement also

purports to state that the murder was carried out by three individuals named Tone,

Tone-Tone, and Carrie.

      59.    In fact, Davontae did not participate, in any way, in the planning or

commission of the Runyon Street murders. He did not know the real perpetrators,

Smothers and Davis, or otherwise have any information about how the crimes were

committed.

      60.    The only accurate details about the crimes in this statement were those

inserted by the police investigators.

      61.    Specifically, the “statement” includes the following accurate facts

about the crime:

      • That the guns the perpetrators intended to use included a chopper
        (an AK-47) and a .45 (a handgun);

      • That the real name of the intended target on Runyon Street was Michael
        or Mike; and

      • That there was a red car in the driveway of the victim’s home.


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      62.    Because Davontae was not involved in the planning or commission of

the Runyon Street murders, he did not know these facts about the crime. Defendant

Officers improperly inserted these facts into Davontae’s “statement,” and later

misrepresented to prosecutors, both orally and in writing, that the facts were

volunteered by Davontae.

            The 2nd False Statement from Davontae: A “Confession”

      63.    After Davontae signed his first “statement,” purportedly implicating

himself in the planning of the crimes, but failing to mention his participation in the

murders themselves, Defendant Russell allowed him to return home.

      64.    That evening at around 8:40 pm, several hours after Davontae was

dropped off, Defendant Russell and DPD Officer Carlisle returned to his home and

spoke with Davontae and his mother, Taminko Sanford.

      65.    Neither Defendant Russell nor Officer Carlisle informed Ms. Sanford

that Defendant Officers had already used improper interrogation tactics to extract a

statement from Davontae that connected him to the crime; they also did not inform

her that it was their intention to implicate Davontae yet more directly in the

commission of the crime.

      66.    As DPD officers had done the previous night with Davontae’s

grandmother, Defendant Russell and Officer Carlisle obtained a signed consent

from Davontae’s mother, Ms. Sanford, to again take Davontae into their custody



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and transport him back to the police station.

      67.    Although Davontae quickly asked to return home, Russell refused.

Instead, Defendant Russell began to interrogate Davontae for the second time in

less than twenty-four hours, starting at 9:30 p.m.

      68.    Fourteen-year old Davontae, who had not slept for many hours and

did not have a parent, attorney, or guardian present, was anxious to leave the

station and return home. He so advised the officers, including Defendant Officers,

but they would not allow him to leave.

      69.    Defendant Officers then engaged in a systematic deliberate effort to

coerce Davontae to make a false confession.

      70.    For example, they falsely promised Davontae that he could go home

once he admitted to committing the quadruple homicide.

      71.    Defendant Officers also lied to Davontae and told him, “we know you

did it now,” claiming that blood from the crime scene had been found on

Davontae’s shoes.

      72.    This was false; no blood was ever found on Davontae’s shoes, nor on

any of his clothes or body.

      73.    Defendant Officers also ridiculed Davontae when he asked for an

attorney; Defendant Russell called him a “dumbass,” and lied, telling him that no

attorneys were available at that hour.



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      74.    Furthermore, as they had the night before, Defendant Officers

provided Davontae with more details about the crimes, including showing him

photographs of the crime scene in order to manipulate him so as to make the

coerced false confession appear to be credible and reliable.

      75.    Because of their deceptive, dishonest, and coercive tactics, Defendant

Russell, with the help of Defendant Tolbert, created a false and fabricated

confession purportedly from Davontae, which Defendant Russell typed and then

read to Davontae.

      76.    This fabricated confession included new and different information

than was contained in the first statement, crafted by Russell and attributed to

Davontae the night before. However, like the first statement, this “confession” also

included non-public facts about the crimes that only the police and the true

perpetrators could have known. Those facts included:

             a.     The number of victims in the house;
             b.     Where the body of each victim was located when he or
                    she was killed;

             c.     That the house was “sprayed” with bullets from the
                    outside;

             d.     That a surviving victim of the shooting had been in the
                    back room of the house on the floor, and had an
                    encounter with one of the gunmen as that gunman walked
                    through the house;

             e.     That multiple gunmen had committed the Runyon Street
                    homicides;

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            f.     That the gunmen used an assault rifle and a handgun;

            g.    That while fleeing the crime scene, two of the gunmen
                  went up Runyon street towards State Fair; and

            h.    That while fleeing the crime scene, one of the gunmen
                  shot at another person using a long rifle.

      77.   Also, as with the “statement” taken from Davontae the night before,

the fabricated “confession” contained information that the police later determined

was false or inconsistent with the crime scene. For example, although the

fabricated confession, like the first statement, falsely identifies the other

perpetrators as Los, Tone-Tone, PBI Tone and Carrie, police later confirmed none

of those individuals were involved in the murder.

      78.   On September 19, 2007, the day after Defendants had extracted the

coerced and fabricated confession, DPD officers determined that Angelo Gardner,

a.k.a. Los, and Antonio Langston, a.k.a. PBI Tone, both had verifiable alibis for

the time of the murder. Neither Gardner nor Langston were ever charged or

prosecuted for the Runyon Street murders.

      79.   Officers also arrested Santo Green, a.k.a. Tone-Tone, but similarly

declined to charge or prosecute him for the Runyon Street murders.

      80.   This newly fabricated “confession” also differed from the first

fabricated “statement” in ways that reflected Defendant Officers’ updated

understanding of the evidence. For example, the first statement stated that on the

night of the murders Davontae was wearing “[t]the brown shirt I have on, black

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‘fat farm’ hoodie, blue/white Jordan, blue jeans.” However, after the first statement

had been created, Valerie Glover—the lone surviving adult victim of the attack—

told the police that the gunman she saw was wearing all black. Thus the newly

fabricated (second) confession contradicted the first statement and accounted for

this new information by stating: “I had on some black dickie pants, black t-shirt

that said ‘Payday’ (it was inside out) and some blue and white Jordans.”

      81.    Defendant Officers also falsely reported and testified that a sketch of

the crime scene, including the positions of the victims’ bodies after their murders,

was drawn entirely by Davontae.

      82.    In fact, Defendant Tolbert drew the sketch of the inside of the Runyon

Street house. Defendant Officers then had Davontae draw the locations of the

bodies on the sketch, based on information that Tolbert and Russell had improperly

provided to him, while instructing him to fill in the blanks. Specifically, Defendant

Officers showed Davontae photos of the scene with the bodies located where they

had been shot and killed.

      83.    Defendant Officers then pressured Davontae to sign the sketch and

subsequently attributed the drawing solely to him. Tolbert falsely reported to

prosecutors and then falsely testified under oath that:

             a.     Davontae had drawn the entire sketch other than
                    Defendant Russell’s signature; and




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             b.    The sketch was based on information that originated with
                   Davontae, not the police.

      84.    Eight years later, in 2015—during an interview with investigators

from the Michigan State Police (MSP) who were conducting an investigation into

the DPD’s investigation of the Runyon Street homicides—Defendant Tolbert

admitted that he had in fact drawn the sketch he had attributed to Davontae.

      85.    Tolbert further admitted that he had falsely testified under oath,

contrary to the true facts, that Davontae had drawn the sketch in question.

      86.    Although the City of Detroit Police Department had the capability to

audio record and videotape confessions at that time, Defendant Officers

deliberately did not record any part of the interrogation that led to Davontae’s

allegedly incriminating statements.

      87.    Instead, Defendant Officers claimed that Davontae needed to

proofread his confession for “accuracy”—despite their knowledge that Davontae

could barely read and was not able to comprehend what little he could read. They

deliberately decided to videotape only that phase of their interrogation.

      88.    In early September 2007, Davontae was arrested and falsely charged

with the multiple murders without any probable cause other than the false and

fabricated “statements” and “confessions” referenced above.

      89.    Consequently, at the age of fourteen, Plaintiff Davontae Sanford was

placed in jail and would remain incarcerated for the next eight-and-a-half years.

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            Davontae’s Preliminary Examination and Trial Proceedings

      90.    At Davontae’s arraignment on October 9, 2007, Judge Brian Sullivan

ordered Davontae to undergo a psychiatric examination for an evaluation. During

this evaluation, Davontae vehemently maintained his innocence and described in

detail how officers had fabricated and coerced his confession.

      91.    The only pieces of evidence ever directly implicating Davontae were:

1) the “confession” that Defendant Officers had fabricated, coerced and extracted;

and, 2) the fabricated sketch of the crime scene.

      92.    Defendant Officers falsely reported and wrote reports and statements

to the prosecution, both before the pretrial hearings and at the trial, that Davontae

volunteered many of the facts in his confession without any prompting or

suggestion whatsoever.

      93.    Defendant Officers further falsely reported that these facts could only

be known by the original perpetrator and were therefore incriminating.

      94.    These statements were cynical distortions and outright lies.

      95.    Davontae’s coerced statements—falsities fabricated by Defendant

Officers—and the fabricated sketch of the crime scene were introduced into

evidence both at Davontae’s preliminary examination on October 1, 2007, and at

his bench trial held on March 17-18, 2008.




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      96.    Because Defendant Officers had fabricated powerful evidence of

Davontae’s alleged guilt, by the middle of trial and on advice of counsel, Davontae

believed that his only recourse was to plead guilty.

      97.    At age 15, Davontae entered his guilty plea to four murders and a

felony firearm—all crimes that he did not commit.

      98.    On April 4, 2008, the court sentenced 15-year-old Davontae to four

concurrent terms of thirty-seven (37) years to ninety (90) years for the murder

charges and an additional two (2) years for the firearm charge.

      99.    Davontae Sanford was immediately transported to the custody of the

Michigan Department of Corrections, where he started the next phase of his nine-

year nightmare, being a child locked in the dangerous and terrifying environment

of an adult prison.

    Vincent Smothers Confesses Repeatedly to the Runyon Street Murders

      100. On April 19, 2008, two weeks after Davontae began serving his

sentence, Vincent Smothers—a suspect in multiple homicides in the Detroit area—

was arrested outside his home in Shelby Township, and eventually brought to a

DPD police station. Smothers, who, at that point, had a wife and newborn

daughter, voluntarily confessed to the police the many crimes he had committed in

order to keep his family safe and out of trouble.




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      101. Over the next two days, Smothers was interviewed by several DPD

officers and confessed to having committed several murders for hire between 2006

and 2007. Notably, included among those confessions were the Runyon Street

murders of which Davontae had just been convicted.

      102. Smothers told DPD Investigator Gerald Williams, unprompted, that

the police had the wrong guy for the Runyon Street murders and volunteered

several non-public facts about the crime that only the real perpetrator would have

known, including:

            a.      That he had committed the murders together with his
                    friend Ernest Davis, a.k.a. “Nemo,” as part of a contract
                    killing commissioned by a man named Leroy Payne;
            b.      That Davis had used a .45 caliber pistol and had fired
                    from outside the house, and Smothers had used an AK-
                    47;

            c.      That Smothers went into the back bedroom and saw a
                    woman hiding under a bed, as well as a young boy,
                    briefly speaking to them both before leaving them alive;
            d.      That Smothers took a .40-caliber gun from the scene,
                    which he later used in a different murder for hire; and
            e.      That when Smothers learned there was a warrant out for
                    his arrest, he asked his wife to hide firearms used in the
                    Runyon murders in a house belonging to Davis’ cousin.

      103. Smothers also admitted his involvement and Davontae’s non-

involvement in the Runyon Street murders to Defendant Russell.




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      104. Defendant Russell accompanied Smothers to the bathroom during one

of the interrogations, at which time he asked Smothers several questions about the

murders. Smothers told Russell that they had the wrong guy because Smothers had

committed the murders. Russell instructed Smothers to cease making statements

that implicated himself and that exculpated Davontae.

      105. Later that day, police executed a warrant on Davis’ cousin’s house

and recovered the .45-caliber pistol that had been used in the Runyon Street

murders, as well as the .40-caliber pistol Smothers had taken from the scene of the

Runyon murders and later used in another murder for hire, further corroborating

Smothers’ confession.

      106. In May of 2008, Smothers was re-interviewed by DPD Investigator

Ira Todd and once again confessed to the Runyon Street murders. During this

interview, Smothers also relayed an additional non-public detail about the Runyon

Street homicides and reported that he had exchanged gunfire with another

individual while fleeing the crime scene.

      107. Smothers was eventually charged with eight murders of the twelve to

which he had confessed; that is, he was charged for every murder to which he had

confessed except for the four committed on Runyon Street.




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      108. During plea negotiations, the prosecutor offered Smothers a plea deal

of 50-100 years for all eight murders if he promised not to testify on behalf of

Davontae—a deal Smothers refused.

      109. Smothers eventually pleaded guilty to eight murders. At his

sentencing, the judge referred to his presentence report, which included his

confession to the Runyon Street murders, and urged him to “correct wrongs for

those who were wrongfully convicted for killing people that you killed.”

      110. Smothers replied, “If that’s a question, then the Police Department

knows of any crimes that have been committed.”

      111. Despite Smothers’ detailed confession to the Runyon Street murders

to Defendants herein, among others, and his leading police to the location of

firearms connected to the murders, Defendants repeatedly and affirmatively took

steps to prevent the truth from coming to light.

      112. Defendants thus knowingly both caused and then prolonged the

wrongful imprisonment of an innocent child.

      113. Defendants did not inform Davontae or his counsel of Smothers’

statements, or otherwise follow up on Smothers’ statements, or seek to correct the

injustice that they knew—and now had confirmation—had befallen Davontae.




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      114. Instead, Defendants either deliberately failed to investigate details that

incriminated Smothers and undermined Davontae’s conviction, or did investigate

such details and deliberately suppressed information that exculpated Davontae.

      115. Neither Davis (Smothers’ accomplice) nor Payne (who ordered the

hit) was ever arrested for their involvement in the Runyon Street murders.

         Davontae Seeks Release from Jail Based on his Innocence of the
                          Runyon Street Homicides

      116. From 2008 until his exoneration in 2016, Davontae sought repeatedly

to withdraw his guilty plea or obtain relief from his conviction based on his actual

innocence of the crime.

      117. In the fall of 2008, Davontae’s first post-conviction attorney learned

about Vincent Smothers’ confession to the Runyon Street murders—not from the

state police or the prosecutor, but from a journalist.

      118. In subsequent proceedings, Smothers repeatedly acknowledged his

guilt in the Runyon Street murders, going so far as submitting an affidavit attesting

to Davontae’s innocence and seeking to attest to the same in court.

      119. However, these efforts to prove Davontae’s innocence were

repeatedly stymied by continued misrepresentations by Defendant Officers to

Wayne County Prosecutors, who continued to assert Davontae’s guilt and fight his

release in reliance on Defendant Officers’ misrepresentations that Davontae had

voluntarily confessed and voluntarily reported non-public information about the

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crimes that only the police and true perpetrator could have known.

      120. Finally, in 2015, Michigan State Police conducted an independent

investigation of the Runyon Street homicides. As part of their investigation, MSP

officers interviewed Defendant Tolbert on October 2, 2015, and discussed the

sketch of the crime scene that Davontae purportedly made in Tolbert’s presence.

During that interview, Tolbert admitted for the first time that he had drawn the

crime scene sketch at the precinct on September 18, 2007.

      121. During their investigation, MSP officers also retrieved the cell phone

contents of Michael Robinson—the deceased target of the Runyon Street hit. The

contents of the cell phone contained a picture of a .40 caliber gun that closely

resembled the .40 caliber gun retrieved by the police that Vincent Smothers had

confessed to taking from the Runyon Street crime scene and using to commit a

subsequent homicide.

      122. The MSP submitted the report of its independent investigation to the

Wayne County Prosecutor’s Office on May 20, 2016.

      123. Due to the strong, irrefutable evidence of Davontae’s innocence, on

June 8, 2016, after Davontae’s attorneys and the Wayne County Prosecutor’s

Office submitted a joint stipulation asking the court to set aside Davontae’s

conviction, Davontae was released from custody. The parties in that action then

supplemented the stipulation on June 24, 2016 and, on July 19, 2016, the court



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granted the stipulation and dismissed all charges against Davontae.

                                     DAMAGES

        124. Defendants’ actions deprived Davontae Sanford of his civil rights

under the Fourth, Fifth, and Fourteenth Amendments to the United States

Constitution.

        125. This action seeks damages for the period from September 17, 2007

through each and every year to the present and into the future.

        126. Davontae’s liberty was curtailed upon his arrest on September 20,

2007 and continued for the duration of his incarceration until his release on June 8,

2016.

        127. Defendants’ unlawful, intentional, willful, deliberately indifferent,

reckless, and/or bad-faith acts and omissions caused Davontae to be falsely

arrested, tried, wrongfully convicted and incarcerated for over eight years for

crimes he did not commit.

        128. Defendants’ unlawful, intentional, willful, deliberately indifferent,

reckless, and/or bad-faith acts and omissions caused Davontae Sanford the

following severe injuries and damages, which continue to date and will continue

into the future, for all of which he is entitled monetary relief:




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            a.     Seizure and loss of liberty, resulting in:

                   i.    Restrictions on all forms of personal freedom
                         including, but not limited to diet, sleep, personal
                         contact, movement, educational opportunities,
                         vocational opportunities, athletic opportunities,
                         personal fulfillment, sexual activity, family
                         relations, reading, television, movies, travel,
                         enjoyment, and expression;
            b.     Personal and physical injuries, including assaults, illness
                   and inadequate medical care;

            c.     Pain and suffering;
            d.     Severe mental anguish, emotional and psychological
                   distress, humiliation, indignities, embarrassment and
                   degradation;

            e.     Permanent loss of natural psychological development
                   including the loss of the adolescent years of his
                   childhood and his early manhood, past and future;

            f.     Loss of family relationships;
            g.     Damage to business and property;
            h.     Legal expenses; and
            i.     Loss of earnings and earning potential.

      129. The conduct of Defendants was reckless and outrageous, entitling

Plaintiff to an award of punitive damages, as well as costs and reasonable attorney

fees, pursuant to 42 U.S.C. §1988.




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                            CLAIMS FOR RELIEF
                         FEDERAL CAUSES OF ACTION

                                      COUNT I

     42 U.S.C. § 1983 FOURTEENTH AMENDMENT VIOLATIONS:
   FABRICATION OF INCULPATORY EVIDENCE, SUPPRESSION OF
      MATERIAL EXCULPATORY EVIDENCE, AND COERCION
    A. Fabricating False Inculpatory Evidence
         130. Plaintiff hereby incorporates by reference all of the foregoing

allegations of fact as though set forth herein word for word.

         131. Defendants Tolbert and Russell, both acting deliberately, recklessly,

and/or intentionally, and at all times under color of law, fabricated inculpatory

statements, including, without limitation, admissions attributable to Plaintiff

Davontae Sanford and others, in police reports and in testimony during pretrial and

at trial.

         132. As a direct and proximate result of Defendant Officers’ fabrication of

this false inculpatory evidence, violating Davontae Sanford’s clearly established

Fourteenth Amendment due process rights, including the right to a fair trial, along

with his Fourth Amendment right to be free from unreasonable seizures, Davontae

was wrongfully convicted and suffered the injuries and damages described above.

    B.      Failure to Disclose Exculpatory and Impeachment Evidence to the
            Prosecution
         133. Defendants Tolbert and Russell, both state actors, acting deliberately,

recklessly and/or intentionally, and at all times under color of law, failed to

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document or disclose to the Wayne County Prosecutor’s Office and/or to the

Wayne County Circuit Court, material exculpatory and impeachment information

including but not limited to:

             a.    That said Defendant Officers fabricated admissions and
                   evidence attributable to Plaintiff Davontae Sanford, in
                   police reports and in testimony, pretrial and at trial,
                   concerning the precise details of the crime;

            b.     That Vincent Smothers had confessed to being the true
                   perpetrator of the Runyon Street homicides; and

            c.     That the confession of Vincent Smothers to the Runyon
                   Street murders was corroborated by the facts and
                   evidence in the possession of and/or later obtained by
                   Defendants.
      134. By     both    fabricating   evidence   and   failing   to   disclose   the

aforementioned, among other exculpatory information, Defendant Officers, acting

pursuant to the customs, policies and/or practices of Defendant City of Detroit,

violated Plaintiff’s clearly established due process rights under the Fourteenth

Amendment, , which imposed a clear duty on these Defendants not to conceal or

suppress obviously exculpatory evidence, but rather to report all material

exculpatory and impeachment information to prosecutors.

      135. Acting with recklessness, deliberate indifference and/or intent, by

withholding this material exculpatory and impeachment evidence prior to, during,

and after trial, Defendant Officers, acting pursuant to the customs, policies and/or

practices of Defendant City of Detroit, violated Davontae Sanford’s clearly


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established Fourteenth Amendment right to due process of law as announced by

the United States Supreme Court in Brady v. Maryland and its progeny,

undermining confidence in the outcome of the trial, and directly and proximately

causing Plaintiff Davontae Sanford to be wrongfully arrested, prosecuted,

convicted and imprisoned, and to suffer the constitutional violations, injuries and

damages described above.

   C. Coercion
      136. Defendant Officers deliberately, recklessly and/or intentionally, and

under color of law further violated Davontae Sanford’s Fourteenth Amendment

right to a fair trial by compelling, manipulating and coercing him to make false

inculpatory statements that repeated details of the crime that they had fed him, and

that were then used against him during his criminal trial.

      137. By wrongly concealing the compulsion, concealment and coercion

through which these statements were obtained, and by falsely testifying as to the

circumstances surrounding the extraction of said statements, Defendants’ actions

led to the introduction into evidence of those statements, in violation of Davontae’s

clearly established Fourteenth Amendment right to a fair trial, which right bars

introduction of statements obtained by means that violate Davontae’s Fifth

Amendment right to be free from compelled self-incrimination.




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      138. The actions of these Defendants violated Davontae’s clearly

established rights under the procedural due process clause of the Fourteenth

Amendment and caused his wrongful arrest, prosecution, conviction and

imprisonment and the injuries and damages set forth above.

      139. As a direct and proximate result of the foregoing actions, Plaintiff

Sanford has suffered the following injuries, among others:

            a.     Seizure and loss of liberty, resulting in;
                   i.    Restrictions on all forms of personal freedom
                         including but not limited to diet, sleep, personal
                         contact, movement, educational opportunities,
                         vocational opportunities, athletic opportunities,
                         personal fulfillment, sexual activity, family
                         relations, reading, television, movies, travel,
                         enjoyment, and expression;

            b.     Personal and physical injuries, including assaults, illness
                   and inadequate medical care;
            c.     Pain and suffering;

            d.     Severe mental anguish, emotional and psychological
                   distress, humiliation, indignities, embarrassment and
                   degradation;

            e.     Permanent loss of natural psychological development
                   including the loss of the adolescent years of his
                   childhood and his early manhood, past and future;

            f.     Loss of family relationships;

            g.     Damage to business and property;
            h.     Legal expenses; and

            i.     Loss of earnings and earning potential.


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                                    COUNT II

         42 U.S.C. § 1983 FOURTH AND FOURTEENTH AMENDMENT
                                VIOLATION:
                          MALICIOUS PROSECUTION

         140. Plaintiff hereby incorporates by reference all of the foregoing

allegations of fact as though set forth herein word for word.

         141. Defendants acting deliberately, recklessly and under color of law,

falsely arrested and imprisoned Plaintiff, without probable cause or other legal

justification, knowing that there was no evidence connecting Plaintiff with the

crime.

         142. Defendants further fabricated statements, including admissions

attributed to Plaintiff, in police reports and in testimony, pretrial and at trial,

concerning the precise details of the crime, although Plaintiff was innocent of any

crime.

         143. Thus, there was not even arguable probable cause to arrest or

prosecute Plaintiff and no reasonable officer would have believed probable cause

existed.

         144. Defendants, acting under color of law, commenced and caused to be

continued a criminal prosecution against Plaintiff that was lacking in probable

cause, unreasonably instituted, by suppressing exculpatory evidence, fabricating

and coercing a false confession, and failing adequately to investigate the crime and



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disregarding evidence, including the true perpetrator’s confession establishing that

Plaintiff was innocent.

      145. The prosecution of Plaintiff ultimately terminated in his favor when

his indictment was dismissed in post-conviction proceedings.

      146. The actions of these Defendants violated Plaintiff’s clearly established

Fourth and Fourteenth Amendment rights to be free from unreasonable seizure and

thereby caused his wrongful conviction and the injuries and damages set forth

above.

      147. As a direct and proximate result of the foregoing actions, Plaintiff

Sanford has suffered the following injuries, among others:

             a.    Seizure and loss of liberty, resulting in;
                   i.     Restrictions on all forms of personal freedom
                          including but not limited to diet, sleep, personal
                          contact, movement, educational opportunities,
                          vocational opportunities, athletic opportunities,
                          personal fulfillment, sexual activity, family
                          relations, reading, television, movies, travel,
                          enjoyment, and expression;

             b.    Personal and physical injuries, including assaults, illness
                   and inadequate medical care;
             c.    Pain and suffering;

             d.    Severe mental anguish, emotional and psychological
                   distress, humiliation, indignities, embarrassment and
                   degradation;




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             e.     Permanent loss of natural psychological development
                    including the loss of the adolescent years of his
                    childhood and his early manhood, past and future;
             f.     Loss of family relationships;

             g.     Damage to business and property;

             h.     Legal expenses; and
             i.     Loss of earnings and earning potential.

                                    COUNT III

             MONELL CLAIM AS TO THE CITY OF DETROIT

      148. Plaintiff hereby incorporates by reference all of the foregoing

allegations of fact as though set forth herein word for word.

      149. Defendant City of Detroit, acting through its top officials,

policymakers and the Detroit Police Department (DPD), authorized, sponsored,

and approved actions by Detroit Police Department officers, supervisors and

investigators during the course of their law enforcement actions conducted within

the scope of their respective authority and under color of law.

      150. At all relevant times hereto, Defendant City, acting through its top

officials, policymakers and the Detroit Police Department (DPD), did enable,

ratify, condone, tolerate and approve actions that constituted improper, flawed,

erroneous and inappropriate police investigative methods, which were a moving

force in the violation of the constitutional rights of citizens, including Plaintiff

Davontae Sanford.

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      151. Those improper, flawed, erroneous and inappropriate police

investigative methods constituted customs, policies and practices, which included

but were not limited to the following:

             a.    Prematurely focusing criminal investigations on persons
                   in the neighborhood who were turned into early suspects
                   by the DPD investigators, including Defendant Officers
                   herein, to the exclusion of other, often far more plausible,
                   suspects, who were excluded, ignored and/or rejected;

             b.    With regard to early and premature suspects,
                   intentionally and/or deliberately ignoring, overlooking,
                   disregarding, contorting and/or burying exculpatory
                   evidence as well as evidence that tended to inculpate
                   others;

            c.     Conducting inadequate, slipshod, hurried, and rushed
                   investigations of high profile crimes to rapid conclusion,
                   before it was either necessary or appropriate to conclude
                   the investigation, resulting in improper, flawed,
                   erroneous and inappropriate police investigative methods
                   such as making arbitrary arrests in order to close cases
                   quickly so as to burnish the DPD’s record for rapid crime
                   solution and apprehension, at the expense of truth,
                   justice, and the legitimate apprehension of real criminals;

            d.     Affirmatively choosing not to investigate, let alone
                   develop or pursue, serious leads and evidence so as to
                   close files quickly;

            e.     Using unreliable, discredited and improper interrogation
                   techniques such as consistently disregarding the DPD
                   written policy against interrogating juveniles outside the
                   presence of their parents and/or guardians, thereby
                   rendering the written policy meaningless;

            f.     Threatening dire consequences to juveniles who do not
                   confess to crimes regarding which they are being

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                   interrogated, even if they are innocent of and uninvolved
                   in those crimes;

           g.      Engaging in premature, aggressive and improper
                   interrogations of early suspects, in particular juveniles,
                   whereby improper methods described above were often
                   employed;

           h.      Engaging in unduly suggestive tactics in the course of
                   interrogations so as to provide critical information to
                   “suspects,” otherwise unavailable to said suspects, in
                   order to import credibility into extracted confessions,
                   thereby contaminating any confession derived from such
                   interrogations;

            i.     Concealing the aforementioned tactics by failing to
                   document, record, discipline, and/or report the events and
                   interactions with suspects and/or witnesses that would
                   reveal the aforementioned inadequate, slipshod, sloppy,
                   hurried and lazy investigations of serious crimes; and/or
                   disclose exculpatory and inculpatory evidence;

           j.      Grossly negligently and/or deliberately failing to
                   investigate    and     reconcile    contradictions and
                   inconsistencies between the different and conflicting
                   versions of multiple confessions; and/or

           k.      Pursuing and/or failing to pursue suspects in criminal
                   investigations for reasons other than valid law
                   enforcement purposes, such as political expediency.

      152. It was also the custom, policy, and practice of Defendant City of

Detroit, authorized, sponsored, and approved by its final policymaker(s), including

the Chief of Police of the City of Detroit, to enable, ratify, condone, tolerate,

approve and promote major supervisors in critical units, such as Defendant Tolbert,

notwithstanding a known history of false reports and repeated criminal violence, as

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set forth below.

      153. Those customs, policies and practices—i.e. improper, flawed,

erroneous and inappropriate police investigative methods and practices—included

the failure to supervise, train and discipline DPD officers so as to prevent those

particular abuses, as identified above.

      154. Those customs, policies and practices further included condoning,

commending, rewarding and/or promoting DPD officers who were known by their

supervisors to have engaged in wrongful misconduct, including criminal violence

and dishonesty in the writing and filing of official reports, wherein such dishonesty

and criminality was a moving force in promoting dishonesty and misconduct

regarding the investigation of serious crimes.

      155. In 2007, Defendant City of Detroit—through its chief policymaker,

Mayor Kwame Kilpatrick—as a matter of policy, maintained a culture of fear

within the Detroit Police Department regarding the Mayor and his associates—in

particular Ernest Davis (referenced above)—whereby Police officers were

threatened, punitively reassigned, or suffered other job-related consequences, even

if it resulted in the wrongful prosecution and conviction of truly innocent persons

such as Plaintiff Davontae Sanford.

      156. As a corollary, Defendant City of Detroit maintained a policy of

lawlessness whereby the Mayor, his friends, relatives and associates, including



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Ernest Davis, were “off-limits” to legitimate law enforcement activities.

      157. Defendant City of Detroit, acting through the DPD, also maintained a

policy, custom and/or practice of retaining, condoning and/or promoting as top

level supervisors, administrators and officers, persons who have demonstrated a

likelihood of violating, disregarding and/or disrespecting the constraints of the law.

      158. As a result, officers within the DPD, in particular homicide

investigators, were likely to violate the constitutional rights of those with whom

they engaged in the course of their investigations, thereby acquiescing in said

unconstitutional conduct.

      159. For example, for well over at least a decade, Defendant Tolbert, with

the knowledge of Defendant City of Detroit and its Police Department, has been

involved in the following incidents, among others:

             a.    In 1999, the Southfield Police Department, investigated
                   and found evidence that Tolbert had engaged in criminal
                   domestic violence;

             b.    In 2000, Tolbert was arrested for domestic assault. At the
                   time of the incident and of his arrest, Tolbert was
                   intoxicated while in possession of an open firearm;

             c.    In 2005, Tolbert was accused by a Southfield police of a
                   felony, filing a false police report;

             d.    In 2006, Tolbert was arrested for domestic assault; and

             e.    In 2011, Tolbert was arrested and locked up for domestic
                   assault.



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      160. During this same period of time, Tolbert was rewarded and promoted

for his consistent criminal, violent, and dishonest activity. For example:

             a.    In 1999 Tolbert was promoted to sergeant;

             b.    Thereafter, in 2003 Tolbert was promoted to lieutenant;

             c.    In 2005, he was promoted to Commander of the DPD’s
                   Major Crimes Unit, where he was situated when he
                   participated in the investigation of the Runyon Street
                   murders; and

             d.    In 2009, notwithstanding his notorious and unacceptable
                   involvement in the interrogation of Davontae Sanford
                   and, in spite of his false testimony therein, and,
                   notwithstanding his history of criminal activity, he was
                   promoted to Deputy Chief, one of the highest positions
                   within the Detroit Police Department.

      161. As a direct and proximate result of the foregoing customs, policies

and practices by Defendant City of Detroit, Plaintiff Sanford has suffered the

following injuries, among others:

             a.    Seizure and loss of liberty, resulting in;
                   i.     Restrictions on all forms of personal freedom
                          including but not limited to diet, sleep, personal
                          contact, movement, educational opportunities,
                          vocational opportunities, athletic opportunities,
                          personal fulfillment, sexual activity, family
                          relations, reading, television, movies, travel,
                          enjoyment, and expression;

             b.    Personal and physical injuries, including assaults, illness
                   and inadequate medical care;

             c.    Pain and suffering;


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             d.    Severe mental anguish, emotional and psychological
                   distress, humiliation, indignities, embarrassment and
                   degradation;
             e.    Permanent loss of natural psychological development
                   including the loss of the adolescent years of his
                   childhood and his early manhood, past and future;

             f.    Loss of family relationships;
             g.    Damage to business and property;

             h.    Legal expenses; and

             i.    Loss of earnings and earning potential.

                                 COUNT IV
                    Americans with Disabilities Act [“ADA”]
                          [42 U.S.C. § 12132, et seq.]
                      (Against Defendant City of Detroit)

      162. Plaintiff hereby incorporates by reference all of the foregoing

allegations of fact as though set forth herein word for word.

      163. During all times relevant hereto, Plaintiff Davontae Sanford had

intellectual and learning disabilities that limited and disabled him from

comprehending what was being said, read, and told to him. At the time of these

events, he was unable, at the age of 14, to read. He was thus a qualified individual

with a disability under Title II of the Americans with Disabilities Act, 42 U.S.C.

§12131(2).

      164. Due to his disability, Plaintiff was excluded from participation in

and/or was denied the benefits of an honest, valid, legitimate, and honorable law


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enforcement investigation designed to apprehend true and actual criminals by

Defendant City of Detroit’s Police Department through its employees and officers,

including Defendants Russell and Tolbert, for whom Defendant City of Detroit is

vicariously liable.

      165. Defendant City of Detroit denied Plaintiff reasonable accommodation

by failing to ensure that he was not interrogated in a manner whereby he was

incapable of understanding the following:

             a.       The nature and circumstances of the investigation;
             b.       That he was a target of the investigation;

             c.       That he was told to sign, and did indeed sign, a document
                      that constituted a confession of crime;
             d.       That he had a right to have a parent and/or guardian
                      present during the interrogation;

             e.       That when he was shown photos of the bodies of victims
                      of the Runyon Street murders and then told to draw those
                      bodies onto a diagram drawn by Defendant Tolbert and
                      then told to initial the drawing, as he was told to do, that
                      he would not be allowed to leave even though he was lied
                      to and promised that he could go home after the
                      questioning was done;
      166. Nonetheless, although Defendant Officers knew Plaintiff was

mentally impaired, they intentionally exploited his mental illness by, among other

things, coercing and/or manipulating him to be interrogated over long periods of

time; to sign and initial documents he could neither read nor understand; to believe

that he would be allowed to go home when this was evidently not the case; and, to


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confess to a crime that he never committed.

      167. As a direct and proximate result of the foregoing actions, Plaintiff

Sanford has suffered the following injuries, among others:

            a.     Seizure and loss of liberty, resulting in;

                  i.      Restrictions on all forms of personal freedom
                         including but not limited to diet, sleep, personal
                         contact, movement, educational opportunities,
                         vocational opportunities, athletic opportunities,
                         personal fulfillment, sexual activity, family
                         relations, reading, television, movies, travel,
                         enjoyment, and expression;
           b.      Personal and physical injuries, including assaults, illness
                   and inadequate medical care;
           c.      Pain and suffering;

           d.      Severe mental anguish, emotional and psychological
                   distress, humiliation, indignities, embarrassment and
                   degradation;

           e.      Permanent loss of natural psychological development
                   including the loss of the adolescent years of his
                   childhood and his early manhood, past and future;

           f.      Loss of family relationships;

           g.      Damage to business and property;

           h.      Legal expenses; and
           i.      Loss of earnings and earning potential.




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                            RELIEF REQUESTED

    WHEREFORE, Plaintiff demands

                a)    A declaration that Defendants violated the federal
                      constitutional rights of Plaintiff;

                b)    Compensatory damages for the aforementioned
                      physical, emotional, and economic injuries
                      suffered by Plaintiff— including the loss of the
                      adolescent years of his childhood, as well as his
                      early manhood—by reason of Defendants’
                      unlawful and unjustified conduct, in an amount
                      fair, just and reasonable and in conformity with the
                      evidence;

                c)    Punitive and exemplary damages against
                      individual Defendant Officers to the extent
                      allowable by law;

                d)    Attorney fees, as allowed, pursuant to 42 U.S.C.
                      §1988;

                e)    The costs and disbursements of this action; and

                f)    Such other and further relief as appears just and
                      proper.




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                                      Respectfully submitted,

                                      Goodman Hurwitz & James, P.C.

                                      /s/ William H. Goodman
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                                      Julie H. Hurwitz (P34720)
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                                      Attorneys for Plaintiff


Dated: September 18, 2017



                           DEMAND FOR JURY TRIAL

      Plaintiff, by and through his attorneys, the law firms of Neufeld Scheck &

Brustin, LLP, and Goodman Hurwitz & James, P.C., hereby demands a trial by

jury on all issues of this cause.




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                                   Respectfully submitted,

                                   Goodman Hurwitz & James, P.C.

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Dated: September 18, 2017




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